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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

  THE HUNTINGTON NATIONAL
  BANK,                                       Case No. 2:19-cv-10890

              Plaintiff,                      HONORABLE STEPHEN J. MURPHY, III

  v.

  SAKTHI AUTOMOTIVE GROUP
  USA, INC., et al.,

              Defendants.
                                  /

 OPINION AND ORDER DENYING DEFENDANTS' EX PARTE MOTION TO
      DELAY THE APPOINTMENT OF A RECEIVER [51], DENYING
      DEFENDANTS' MOTION FOR RECONSIDERATION [56], [57],
    AND DENYING PLAINTIFF'S MOTION TO FILE A RESPONSE IN
 OPPOSITION TO DEFENDANTS' MOTION FOR RECONSIDERATION [61]

       On May 16, 2019, the Court denied Plaintiff Huntington National Bank's

 ("Huntington") motion for a preliminary injunction and granted its renewed motion

 for appointment of a receiver. ECF 49. The Court allowed either party to file motions

 for reconsideration within ten days if they believed that further evidence could

 change the Court's ruling. Id. at 2484. The Court further ordered that "[a]ny such

 motion must be accompanied by affidavits, declarations, and a summary of the

 testimony and evidence that would alter the Court's decision." Id. On May 20, 2019,

 Defendants Sakthi Automotive Group, USA, Inc., Sakthi America Corporation, and

 Sakthi Real Estate Holdings ("Sakthi Defendants") filed an ex parte motion to delay

 appointment of a receiver until after the Court considered Sakthi Defendants' motion

 for reconsideration. ECF 51. On May 21, 2019, Sakthi Defendants filed a motion for



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 reconsideration. ECF 56, 57. On May 28, 2019, Huntington filed a motion for leave to

 file a response in opposition to Sakthi Defendants' motion for reconsideration. ECF

 61. For the reasons that follow, the Court will deny each of these motions and will

 appoint by separate order Kevin English, managing partner of Lark Advisors, to

 serve as receiver. See ECF 52, PgID 2514–15.

                               STANDARD OF REVIEW

       Before the Court will grant a motion for reconsideration, "[t]he movant must

 not only demonstrate a palpable defect by which the court and the parties and other

 persons entitled to be heard on the motion have been misled but also show that

 correcting the defect will result in a different disposition of the case." E.D. Mich. L.R.

 7.1(h)(3). "A 'palpable defect' is a defect which is obvious, clear, unmistakable,

 manifest, or plain." Fleck v. Titan Tire Corp., 177 F. Supp. 2d 605, 624 (E.D. Mich.

 2001) (citation omitted).

                                     DISCUSSION

       As the Court found in its Order granting Huntington's renewed motion for a

 receiver, "the parties' briefing and evidence, including relevant contractual language

 in the parties' loan documents, establish that Huntington is entitled to the

 appointment of a receiver." ECF 49, PgID 2488. Sakthi Defendants admitted that

 they are in default of the parties' loan agreements. ECF 30, PgID 1522. And

 Huntington, consistent with the terms of the parties' contracts, sought to have a

 receiver appointed to protect its interests in certain collateral. See ECF 26-5, PgID

 760, ECF 26-8, PgID 946, ¶ 7(d); ECF 26-9, PgID 976 ¶ 7(d).




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       Section 11.5 of the parties' credit agreement provides:

       Upon the occurrence of an Event of Default and at all times thereafter,
       the Lender shall be entitled to the immediate appointment of a receiver
       for all or any part of the Collateral, whether such receivership is
       incidental to the proposed sale of the Collateral, pursuant to the
       Uniform Commercial Code or otherwise. Each Loan Party hereby
       consents to the appointment of such a receiver without notice or bond,
       to the full extent permitted by applicable statute or law; and waives any
       and all notices of and defenses to such appointment and agrees not to
       oppose any application therefor by the Lender, but nothing herein is to
       be construed to deprive the lender of any other right, remedy, or
       privilege the Lender may have under law to have a receiver appointed,
       provided, however, that, the appointment of such receiver shall not
       impair or in any manner prejudice the rights of the Lender to receive
       any payments provided for herein. Such receivership shall at the option
       of the Lender, continue until full payment of all the Obligations.

 ECF 26-5, PgID 760. The mortgage agreements between Huntington and Sakthi

 America Corporation and Sakthi Automotive Group USA, Inc. contain similar

 clauses. See ECF 26-8, PgID 946, ¶7(d); ECF 26-9, PgID 976, ¶7(d).

       Defendants do not dispute the validity of the contracts or that they have

 defaulted under the terms of the contracts. Appointment of a receiver is "an

 extraordinary equitable remedy that is justified in only extreme situations." Meyer

 Jewelry Co. v. Meyer Holdings, 906 F. Supp. 428, 432 (E.D. Mich. 1995) (citations

 omitted)1. Here, it is a remedy that Sakthi Defendants explicitly agreed to in their

 contracts with Huntington. Courts disagree about whether a party's advanced

 contractual consent to the appointment of a receiver is dispositive of the issue of



 1 "[T]he weight of authority suggests that appointment of a receiver in a diversity
 action is controlled by federal law, not state law." Fed. Nat. Mortg. Ass'n v. Mapletree
 Inv'rs Ltd. P'ship, No. 10-cv-10381, 2010 WL 1753112, at *2 (E.D. Mich. Apr. 30,
 2010) (collecting cases). The parties agree that the controlling authority is federal
 law. See, e.g., ECF 26, PgID 626; ECF 29, PgID 1046.


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 appointment or simply a factor that favors appointment. Mapletree, 2010 WL

 1753112, at *3. Under either scenario, Huntington is entitled to appointment of a

 receiver. As discussed in the Court's order granting Huntington's renewed motion for

 appointment of a receiver, the relevant legal and equitable factors clearly favor

 appointment of a receiver here. See ECF 49, PgID 2488–91.

       Sakthi Defendants focus on the phrase "to the full extent permitted by

 applicable statute or law" contained in Section 11.5 of the parties' contract and argue

 that case law does not support appointment of a receiver. The argument is unavailing.

 The Court fully considered the following factors that were discussed in Meyer:

       [1] the existence of a valid claim by the moving party; [2] the probability
       that fraudulent conduct has occurred or will occur to frustrate the claim;
       [3] imminent danger that property will be lost, concealed, or diminished
       in value; [4] inadequacy of legal remedies; [5] lack of a less drastic
       equitable remedy; and [6] the likelihood that appointment of a receiver
       will do more harm than good.

 ECF 49, PgID 2489 (quoting Meyer Jewelry Co., 906 F. Supp. at 432); see also Pension

 Benefit Guar. Corp. v. Evans Tempcon. Inc., 630 F. App'x 410, 414 (6th Cir. 2015)

 (discussing factors a district court considers when appointing a receiver). The Court

 found, based not only on the testimony provided at the evidentiary hearing, but also

 on the arguments and evidence contained in the parties' filings, that the factors

 favored appointment of a receiver. ECF 49, PgID 2489–91. And Sakthi Defendants

 have failed to provide evidence in their motion for reconsideration that warrants a

 different ruling.

       Defendants' motion for reconsideration focuses on three of the factors

 previously evaluated by the Court: "(a) the probability that fraudulent conduct has



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 occurred or will occur; (b) imminent danger that property will be lost, concealed, or

 diminished in value; and (c) the likelihood that the appointment of a receiver will do

 more harm than good." ECF 56, PgID 2623. The evidence Sakthi Defendants

 submitted fails to establish that these factors weigh in their favor or that

 appointment of a receiver is not otherwise "permitted by applicable statute or law" as

 described in the parties' contract. ECF 26-5, PgID 760. Consequently, Sakthi

 Defendants' motion for reconsideration will be denied.

       (1) Probability of Fraudulent Conduct

       First, Defendants argue that they have not committed fraud. ECF 56. They

 rely upon the declarations of Manickam Mahalingam, the Chairman of Sakthi

 Defendants, ECF 60, PgID 3067–77, and Nalin Chaudhry, a financial consultant to

 Sakthi Automotive Group, USA, Inc. and its former Chief Financial Officer, ECF 57-

 3, PgID 3043–47. Chaudhry claims that the testimony provided at the evidentiary

 hearing by Huntington's witness, Barry O' Neall, was "inaccurate, misleading and

 omitted important facts." Id. at 3044. In particular, although MOBIS rental

 payments were "an 'ineligible' account receivable that should not have been included

 in the 'total accounts receivable' . . . [t]here was no attempt to conceal this information

 from [Huntington]." Id. at 3045. Similarly, Mr. Mahalingam asserts that Huntington

 has "[a]t all relevant times . . . been aware of Sakthi's 'diversion' of the MOBIS rent

 payments to [Punjab National Bank]." ECF 60, PgID 3069. Sakthi Defendants

 further assert that they submitted corrected borrowing base accounts to correct errors




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 regarding inclusion of ineligible accounts and that there was no fraud involved, only

 mistake. ECF 56, PgID 2638. The Court will accept the assertions as true.

       But now Huntington and Sakthi Defendants have submitted competing

 evidence regarding the probability that fraudulent conduct has occurred or will occur.

 And although Sakthi Defendants' new evidence creates doubt that Sakthi Defendants

 had fraudulent intent when they provided erroneous records to Huntington, the doubt

 is insufficient to tip the scales in Sakthi Defendants' favor regarding the appointment

 of a receiver. See Canada Life Assurance Co. v. LaPeter, 563 F.3d 837, 847 (9th Cir.

 2009) (holding that "district courts have broad discretion to consider a number of

 factors in considering whether or not to appoint a receiver, and that no one factor is

 dispositive"). Sakthi Defendants' proffered evidence does not show that the Court

 committed an error which is "obvious, clear, unmistakable, manifest, or plain." See

 Fleck, 177 F. Supp.2d at 624. The new evidence fails to show that appointment of a

 receiver would not be "permitted by applicable statute or law." ECF 26-5, PgID 760.

 The balance of the relevant factors still favors appointment of a receiver.

       (2) Imminent Danger Property Will be Lost, Concealed, or Diminished in Value

       Defendants next argue that even if they "run out of money tomorrow, there is

 no imminent danger the property will be lost, concealed, or diminished in value." ECF

 56, PgID 2640. Sakthi Defendants submit that Huntington's interest in Defendants'

 existing accounts and inventory is sufficient to cover Defendants' debt to Huntington.

 Id. at 2640. Defendants state that"[Huntington] has a first or second priority lien on

 nearly all of Defendants' equipment, as well as liens of varying priority on all of




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 Defendants' real estate." Id. (emphasis added). The argument appears to be, not that

 property will not diminish in value, but that it will not diminish to the point that

 Huntington's interest will be harmed. Sakthi Defendants have not provided any new

 evidence regarding the factor and their argument is unpersuasive.

       Mr. O'Neall testified that Huntington's "principal collateral that [it] advance[s]

 money against are accounts receivables and inventory, and that is the collateral that

 we are concerned with being diminished as well as the ability for the company to

 continue to operate." ECF 47, PgID 2434. He further testified that he believed "an

 infusion of cash into Sakthi Automotive Group USA is required for it to remain a

 [going] concern," that other creditors were first in priority with regard to mortgage

 interests in certain real estate collateral, and that Defendants have received default

 notices for other loans they have taken including from Hitachi Capital Corporation,

 Chase Investment Fund, Detroit Investment Fund and Huntington Equipment

 Finance. Id. at 2426, 2435–39.

       Huntington is rightly concerned that its interest may be imperiled by Sakthi

 Defendants' inability to continue financing its operations and the presence of multiple

 other creditors, some of whom have claims that outrank Huntington in order of

 priority. See, e.g., ECF 31, PgID 1938 ("Faced with a liquidity crisis in September

 2018, Mr. [Mahalingam] requested financing from AAPICO, to which AAPICO

 responded with a loan and investment of $65 million."); ECF 36, PgID 1956 ("The

 present amount owed to Bangkok Bank is in excess of $20,970,000 plus interest, costs

 and fees."); ECF 36-5, PgID 2144–45 (describing Bangkok Bank's first priority




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 security interests); ECF 39, PgID 2169–70 (explaining that loans from Detroit

 Investment Fund, L.P. and Chase Invest Detroit, LLC "are currently in default" and

 "[e]ach of the respective loans has a current balance of $2,068,451"); ECF 44, PgID

 2199–01 (describing Punjab National Bank's first-priority security interests and

 stating that "[t]he present amount owed to Punjab is in excess of $4,000,000 plus

 interest, costs and fees"); ECF 45-1, PgID 2366 (Director of Supplier Financial Risk

 Mitigation for General Motors LLC, Mark Fischer, stating "through June 30, 2019,

 Sakthi needs at least an additional $12.5 million in financing and an additional $12.5

 million to pay their 'inter-company balances' per Sakthi's 13-week cash forecast, in

 addition to $9.7 million due to GM pursuant to the terms of various loans and

 agreements between GM and Sakthi"); ECF 60, PgID 3317 (noting costs and expenses

 incurred by GM related to Sakthi "are in excess of $33 million").

       Sakthi Defendants also note that the parties' credit agreement "provides

 [Huntington] with the right to take possession of and liquidate Defendants' property

 while Defendants are in default, regardless of whether a receiver is appointed." ECF

 56, PgID 2640. It is difficult to see how such an outcome would be preferable, or less

 extreme, than appointing a receiver. Sakthi Defendants do not address the point. See

 Liberte Capital Grp., LLC v. Capwell, 462 F.3d 543, 551 (6th Cir. 2006) ("The

 receiver's role, and the district court's purpose in the appointment, is to safeguard

 the disputed assets, administer the property as suitable, and to assist the district

 court in achieving a final, equitable distribution of the assets if necessary."). Sakthi

 Defendants do not suggest a legal remedy other than appointment of a receiver that




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 would preserve the collateral in which Huntington has an interest. Sakthi

 Defendants' evidence related to the diminished value of Huntington's interest fails to

 demonstrate that the Court was "misled" by a "palpable defect." E.D. Mich. LR

 7.1(h)(3).

        (3) Likelihood Appointment of a Receiver Will do More Harm than Good

        Next Sakthi Defendants argue that appointment of a receiver will do more

 harm than good because "it will trigger the contractual right for SAGUSA's suppliers

 and customers to terminate their supply agreements." ECF 56, PgID 2634. Mr.

 Mahalingam states that "should a receiver be appointed, at least two key suppliers,

 Bethel-Sakthi and Rio Tinto, have warned that they will terminate or have the right

 to terminate their supply relationship with Sakthi." ECF 60, PgID 3075. But the May

 15, 2019 email from Xiangjun Wu, sales manager for Weihai Bethel-Sakthi

 Automotive Safety Systems, Ltd. ("Bethel-Sakthi") expressed concern primarily

 regarding the amount of Defendants' outstanding debt and overdue payments. See

 id. at 3319. Mr. Wu states that "Sakthi Automotive Group USA Inc., still ha[s] a

 significant amount of overdue payment to Bethel-Sakthi and in the event [a] receiver

 [is] assigned by the court all the payment overdue to Bethel-Sakthi will be in serious

 risk." Id. According to Huntington's witness, Mr. O'Neall, as of May 14, 2019,

 Defendants owed Bethel-Sakthi Automotive more than $12 million with $12.6 million

 over 90 days past due. ECF 47, PgID 2432. Mr. O'Neall further testified that, as of

 May 14, 2019, Defendants have significant amounts owed and past due to multiple

 key suppliers including Rio Tinto to whom Defendants owe $3.5 million with $2




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 million more than 90 days past due. Id. at 2431–32. Thus, it appears that Sakthi

 Defendants' failure to pay their debts is causing more concern among their suppliers

 and customers than the potential appointment of a receiver.

       Sakthi Defendants' contention that appointment of a receiver will cause their

 suppliers and customers to cancel their agreements ignores the critical fact that

 Sakthi Defendants' failure to fulfill contractual obligations, including timely paying

 its debts, is the primary reason their customers have provided for canceling their

 agreements. For example, Mr. Mahalingam states that GM has provided notice that

 it was terminating several supply contracts and "[o]ne of the reasons cited for

 termination was this Court's May 16 Order granting [Huntington's] motion to appoint

 a receiver and GM's view that Sakthi is insolvent." ECF 60, PgID 3074–75. But the

 May 20, 2019 emailed letter from Thomas McMillen, Executive Director of General

 Motors LLC, states that GM's notice of termination is "a result of Sakthi's material

 breaches of the Purchase Contracts and Sakthi's insolvency." Id. at 3314. Under the

 title "Termination for Cause," GM's representative explains that "[i]t is clear that

 Sakthi is insolvent, lacks a plan to address its financial distress, and has insufficient

 resources to invest in, maintain and operate its business." Id. Additionally, Mr.

 McMillen states "as outlined in various oral and written communications from GM to

 Sakthi, Sakthi has been, and continues to be, in material breach of the Purchase

 Contracts (and all other supply agreements with GM)." Id.

       The reasons GM provides for terminating its purchase contracts is that "Sakthi

 has repeatedly breached the purchase contracts" and "has failed to provide adequate




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 assurance of future performance" and is insolvent. Id. at 3315–17. Sakthi Defendants'

 conduct has led to suppliers and customers terminating or potentially terminating

 their agreements – not the Court’s appointment Order. Additionally, GM's purchase

 contract with Sakthi provides that it "may immediately terminate" its contract

 without liability in the event of "insolvency of Seller (including, without limitation, a

 circumstance in which [Sakthi's] liabilities exceed its assets or [Sakthi] is unable to

 pay its debts as they come due." ECF 60, PgID 3305. It is clear from Huntington's

 evidence, and the filings of multiple interested parties, that Sakthi Defendants are

 unable to pay their debts as they come due. That fact strongly favors the appointment

 of a receiver. Pension Benefit Guar. Corp., 630 F. App'x at 414–15 ("[W]hether there

 is inadequate security of a debt and whether a debtor is insolvent" are factors the

 court considers in determining whether a receiver should be appointed.); Fed. Nat'l

 Mortg. Ass'n v. Maple Creek Gardens, LLC, No. 09–14703, 2010 WL 374033, at *3

 (E.D. Mich. Jan. 25, 2010) ("Courts contemplating the appointment of a receiver have

 considered a number of factors but have found the adequacy of the security and the

 financial position of the [defendant] to be most important."); Mapletree, 2010 WL

 1753112, at *5 (noting "the two most important factors" in determining whether a

 receiver should be appointed are "adequacy of the security and financial condition of

 the [Defendant]").

       Finally, based on the arguments and evidence presented, Huntington will

 likely suffer greater harm if a receiver is denied than Sakthi Defendants will if a

 receiver is appointed. The fact that Sakthi Defendants contractually agreed to the




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 appointment of a receiver underscores that point. Id. (explaining that when a party

 contractually "agreed to not contest receivership appointment . . . there is little harm

 in enforcing the terms of the parties' bargain."); Fed. Nat'l Mortg. Ass'n, 2010 WL

 374033, at *3 (same).

       Sakthi Defendants' motion for reconsideration fails to demonstrate that the

 appointment of a receiver will do more harm than good or that the Court was misled

 by a palpable defect in deciding to appoint a receiver. Rather, it appears that the

 appointment of a receiver is the only option that will allow Huntington to protect its

 interests while still allowing Sakthi Defendants' operations to continue. The balance

 of the relevant factors favors appointment of a receiver.

                                    CONCLUSION

       The arguments and evidence submitted, including the parties' relevant

 contract language, confirm that Huntington is entitled to the appointment of a

 receiver. Huntington has demonstrated that Sakthi Defendants are in breach of the

 parties' agreements, that its collateral is in danger of being diminished in value, and

 that appointment of a receiver is necessary to protect Huntington's interests in the

 collateral covered by the parties' loan agreements. Further, appointment of a receiver

 will do more good than harm. Sakthi Defendants have failed to show that the

 appointment of a receiver is not "permitted by applicable statute or law," see ECF 26-

 5, PgID 760, or that appointment of a receiver would be otherwise unjust. And they

 have failed to show that the Court's decision to appoint a receiver resulted from it




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 being   misled    by   a   palpable   defect.    Accordingly,   Defendants'   motion   for

 reconsideration will be denied.

                                         ORDER

         WHEREFORE, it is hereby ORDERED that Defendants' motion for

 reconsideration [56], [57] is DENIED;

         IT IS FURTHER ORDERED that Defendants' ex parte motion to delay

 appointment of a receiver [51] and Plaintiff's motion to file a response to Defendants'

 motion for reconsideration [61] are DENIED as MOOT.

         IT IS FURTHER ORDERED that the Court will appoint Kevin English to

 serve as a receiver and will set forth the receiver's powers and responsibilities in a

 separate order.

         SO ORDERED.


                                           s/ Stephen J. Murphy, III
                                           STEPHEN J. MURPHY, III
                                           United States District Judge
 Dated: June 20, 2019

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on June 20, 2019, by electronic and/or ordinary mail.

                                           s/ David P. Parker
                                           Case Manager




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